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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 23-200V



 LINDSAY ANDERSON, as                                       Chief Special Master Corcoran
 Mother and Natural Guardian
 of minor child, A.B,                                       Filed: June 14, 2024

                        Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Neil Bhargava, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

        On February 13, 2023, Lindsay Anderson filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”), on behalf of her minor child, A.B. Petitioner alleges that A.B. suffered the
Vaccine Injury Table injury of Guillain-Barre Syndrome (“GBS”) as a result of an influenza
(“flu”) vaccine administered on September 23, 2021. Petition at 1. Petitioner further
alleges that A.B. suffered the residual effects of the injury for more than six months, and
that there has been no prior award or settlement of a civil action on A.B.’s behalf as a

1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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result of the injury. See Petition at ¶¶ 10-11. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On June 11, 2024, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that

       [m]edical personnel at the Division of Injury Compensation Programs,
       Department of Health and Human Services (DICP), have reviewed the
       petition and medical records filed in the case. It is respondent’s position that
       petitioner, who is proceeding on behalf of A.B., has satisfied the criteria set
       forth in the Vaccine Injury Table (Table) and the Qualifications and Aids to
       Interpretation (QAI), which afford a presumption of causation if the onset of
       GBS occurs between three and forty-two days after a seasonal flu
       vaccination and there is no apparent alternative cause.

Id. at 12 (citing 42 C.F.R. § 100.3 (a)(XIV)(D), (c)(15)).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                             s/Brian H. Corcoran
                                                             Brian H. Corcoran
                                                             Chief Special Master




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